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 1 JAMES R. GREINER, ESQ.
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 5
     ATTORNEY FOR DEFENDANT
 6   JUAN VILLA, JR.
 7
 8
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )               CR.-S-07-515-WBS
                                    )
12        PLAINTIFF,                )               STIPULATION AND PROPOSED
                                    )               ORDER CONTINUING THE STATUS
13        v.                        )               CONFERENCE TO
                                    )               TUESDAY, FEBRUARY 16, 2010
14   JORGE CHAVEZ. et al,           )
                                    )
15        DEFENDANT.                )
     _______________________________)
16
17         The United States of American, represented by Assistant United States
18   Attorney, Mr. Michael Beckwith, and defendant Alex Hernandez, represented by Mr.
19   David Cohen, and defendant Jaime Jiminez, represented by attorney, Mr. Hayes
20   Gable, defendant Maricella Villa, represented by attorney, Ms. Kresta Daly, and
21   defendant Juan Villa, represented by attorney , Mr. James R. Greiner, hereby agree
22   and stipulate that the status conference set for Monday, November 16, 2009, may be
23   vacated off the Court’s calendar and rescheduled for Tuesday, February 16, 2010, at
24   8:30 a.m..
25         To date, the government has produced 14 CD’s, 8 audio tape recordings (most
26   all of them in the Spanish language), and one video tape recording . Counsel for
27   defendant Juan Villa, Jr., has just been recently been appointed as of August 28, 2009
28                                              1
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 1   (See Docket Entry # 170 and whereas the government filed the criminal complaint on
 2   October 30, 2007, regarding a criminal investigation which the government represents
 3   started on or about August 2005 (See Criminal Complaint, page 4, Background of
 4   Investigation, CI-1, first sentence of first paragraph). Newly appointed counsel for
 5   defendant Juan Villa, Jr., needs a reasonable amount of time to review the discovery
 6   to date, to meet and review the discovery with the defendant, to due reasonable
 7   investigation in the case, all of which is at least some four (4) years behind the
 8   government and two (2) years behind the other defense counsel in the case.
 9            Thus, all parties agree and stipulate that a continuance is reasonably warranted
10   under the circumstances of the case and as it regards newly appointed counsel for
11   defendant Juan Villa, Jr..
12                EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
13            The parties agree and stipulate that with new counsel for defendant Juan Villa,
14   Jr., having been appointed on August the interests of justice in granting this
15   reasonable request for a continuance outweighs all other interests in this case for a
16   speedy trial in this case, pursuant to Title 18 section 3161 (h)(7)(B)(iv),
17   corresponding to Local Code T-4 (to allow counsel time to prepare). The parties
18   stipulate and agree that the interests of justice served by granting this continuance
19   outweigh the best interests of the public, the government and the defendants in a
20   speedy trial. (Title 18 section 3161 (h)(7)(B)(iv), corresponding to Local Code T-4
21   (to allow counsel time to prepare.)
22            The Court’s Courtroom deputy, Ms. Karen Kirksey Smith, was contacted to
23   ensure the Court was available on Tuesday, February 16, 2010, and the Court is
24   available.
25   ///
26   ///
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28                                                 2
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 1
 2            Respectfully submitted:
 3                                      BENJAMIN WAGNER
                                        UNITED STATES ATTORNEY
 4
                                        /s/ Michael Beckwith, by in person authorization
 5
     DATED: 11-12-09                    _____________________________________
 6                                      Michael Beckwith
                                        ASSISTANT UNITED STATES ATTORNEY
 7                                      ATTORNEY FOR PLAINTIFF
 8
                                        /s/ David Cohen, by telephone authorization
 9   DATED: 11-12-09
                                        _____________________________________
10                                      David Cohen
                                        Attorney for defendant Alex Hernandez
11
                                        /s/ Hayes Gable, by e mail authorization
12   DATED: 11-12-09
                                        _____________________________________
13                                      Hayes Gable
                                        Attorney for defendant Jaime Jiminez
14
                                        /s/ Kresta Daly, by e mail authorization
15   DATED: 11-12-09
                                        _____________________________________
16                                      Kresta Daly
                                        Attorney for defendant Maricella Villa
17
18   DATED: 11-12-09                    /s/ James R. Greiner
                                        ___________________________________
19                                      James R. Greiner
                                        Attorney for defendant Juna Villa, Jr.
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21   ///
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 1
                                       ORDER
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          FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
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     DATED: November 13, 2009
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